                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA


    JENNY Y. CHOW and PETER S.
    CHOW,
                           Plaintiffs,
       vs.                                      Case No. 3:19-cv-00142-MMS

    UNITED STATES, et al.,

                           Defendants.


                                 ORDER OF DISMISSAL

          On May 20, 2019, Jenny Y. Chow and Peter S. Chow (the Chows),

representing themselves, filed a “Complaint for Continuous Harming from ‘Vast’

Conspiracy Causing Damages Compounding,” Applications to Waive the Filing

Fee under 28 U.S.C. U.S.C. § 1915, and a demand that summonses be issued

without delay. 1      Defendants are the United States, State of Alaska, State of

California, City of Pomona, Harold W. Green Jr., Thomas J. Yerbich, Hollins &

Associates, Alvarez-Glasman & Colvin, Dyna Garcia, Allstate Insurance Company,

and Does 1 to 10. 2 In the Complaint, the Chows claim that, “[e]ver since Peter S.

Chow (PSC) came to this Country in 1978, the perpetrator has been spying,

following, conspiring and harming wherever PSC goes.” 3


1   Dockets 1, 2, 3, 5.
2   Docket 1 at 1.
3   Id. at 4.




             Case 3:19-cv-00142-MMS Document 6 Filed 08/02/19 Page 1 of 13
                                  Screening Requirement

         Federal law requires a court to conduct an initial screening of a complaint

brought by a self-represented plaintiff who has not paid the filing fee. In this

screening, a court shall dismiss the case at any time if the court determines that

the action

         (i) is frivolous or malicious;
         (ii) fails to state a claim on which relief may be granted; or
         (iii) seeks monetary relief against a defendant who is immune from
         such relief. 4

         Although the Chows have requested that the Court waive the filing fee under

28 U.S.C. § 1915, they object to the application of the screening provision of that

statute to their case. 5 However, this Court must follow the law set forth in federal

statutes as interpreted by the United States Supreme Court; and in discussing 28

U.S.C. § 1915(e)(2)(B), the Supreme Court has said that “[a] complaint is subject

to dismissal for failure to state a claim if the allegations, taken as true, show the

plaintiff is not entitled to relief.... Whether a particular ground for opposing a claim

may be the basis for dismissal for failure to state a claim depends on whether the




4 28 U.S.C. § 1915(e)(2)(B); see also Lopez v. Smith, 203 F.3d 1122, 1129 (9th Cir. 2000)
(“section 1915(e) applies to all in forma pauperis complaints, not just those filed by
prisoners”).
5   See Docket 1 at 1–2 (claiming screening provision of statute is unconstitutional).

3:19-cv-00142-MMS, Chow v. United States, et al.
Order of Dismissal
Page 2 of 13
           Case 3:19-cv-00142-MMS Document 6 Filed 08/02/19 Page 2 of 13
allegations in the complaint suffice to establish that ground, not on the nature of

the ground in the abstract.” 6

         Therefore, the Court will screen the Complaint in this case as required by

federal law. 7 To determine whether a complaint states a valid claim for relief, a

court considers if it contains sufficient factual matter that if accepted as true

“state[s] a claim to relief that is plausible on its face.” 8 In conducting its review, a

court is mindful to liberally construe a self-represented plaintiff’s pleading and give

the plaintiff the benefit of any doubt. 9 Before a court may dismiss any portion of a

complaint for failure to state a claim upon which relief may be granted, the court

must provide the plaintiff with a statement of the deficiencies in the complaint and

an opportunity to amend or otherwise address the problems, unless to do so would

be futile. 10 As explained below, in this case, amendment would be futile.

         Federal Rule of Civil Procedure 8(a) requires that a complaint include:



6   Jones v. Bock, 549 U.S. 199, 215 (2007) (citation omitted).
7 See also Franklin v. Murphy, 745 F.2d 1221, 1228 & n. 6 (9th Cir. 1984) (Even “where
the filing fee has been paid[,] [d]istrict courts have the authority to dismiss complaints
founded on ‘wholly fanciful’ factual allegations for lack of subject matter jurisdiction” sua
sponte.) (citations omitted).
8  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). In making this
determination, a court may consider “materials that are submitted with and attached to
the Complaint.” United States v. Corinthian Colleges, 655 F.3d 984, 999 (9th Cir. 2011)
(citation omitted).
9   See Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (citation omitted).
10   Garmon v. County of Los Angeles, 828 F.3d 837, 842 (9th Cir. 2016).

3:19-cv-00142-MMS, Chow v. United States, et al.
Order of Dismissal
Page 3 of 13
           Case 3:19-cv-00142-MMS Document 6 Filed 08/02/19 Page 3 of 13
         (1) a short and plain statement of the grounds for the court’s
         jurisdiction …;

         (2) a short and plain statement of the claim showing that the pleader
         is entitled to relief; and

         (3) a demand for the relief sought, which may include relief in the
         alternative or different types of relief. 11

The Chows have not made a short and plain statement of any claim showing that

they are entitled to relief.


                                      DISCUSSION

         The Chows claim that various businesses, governments and individuals

conspired to harm PSC in primarily unrelated events, covering a period of over two

and a half decades, in Alaska and California. The Court is taking judicial notice of

several of the court cases the Chows mention in their factual allegations. 12

         The Chows allege that Peter Chow moved to Anchorage in 1991 to manage

apartments he owned, and that “[i]n June 1993, PSC was suddenly arrested at

home in Alaska [based upon a] wrongful allegation [and] the District Attorney

willfully delayed to drop the charges until November 18, 1994” after Peter Chow




11   Fed. R. Civ. P. 8(a).
12Judicial notice is the “court’s acceptance, for purposes of convenience and without
requiring a party’s proof, of a well-known and indisputable fact; the court’s power to accept
such a fact” Black’s Law Dictionary (11th ed. 2019); see also Headwaters Inc. v. U.S.
Forest Service, 399 F.3d 1047, 1051 n.3 (9th Cir. 2005) (“Materials from a proceeding in
another tribunal are appropriate for judicial notice.”) (internal quotation marks and citation
omitted); see also Fed. R. Evid. 201.

3:19-cv-00142-MMS, Chow v. United States, et al.
Order of Dismissal
Page 4 of 13
           Case 3:19-cv-00142-MMS Document 6 Filed 08/02/19 Page 4 of 13
already suffered harm. 13 The Chows claim that the reason for Peter Chow’s arrest

was “malicious prosecution … with the intent to cause maximum harm.” 14 The

Chows claim that Peter Chow’s lawyer, Harold W. Green, “tortiously omitted to

dismiss the case according to [his] right to Speedy Trial[] … instead … initiat[ing]

the fraudulent inpatient competency … evaluation … [in] conspiracy … to create

maximum harm to PSC.” 15 The Chows claim that, “on July 10, 1994, Green

illegally acquired [a] fraudulent default judgment, judgment lien and cash seized

on PSC from Alaska Civil Court without [due process].” 16

           The Chows claim that “Bankruptcy Court 17 and bankruptcy attorney Thomas

J. Yerbich” conspired with Mr. Green with “the same objective of harming PSC….

Yerbich, in furtherance of this continuing conspiracy … totally ripped off PSC’s

properties so as to force PSC to move back to California …” in 1996. 18



13   Docket 1 at 5.
14   Id.
15 Id. at 5-6; see also Peter S. Chow, 3AN-94-00998PR (Superior Court, State of Alaska),
petition for conservatorship of adult filed 10/6/94, denied 1/17/95 (Mr. Chow’s counsel of
record was Harold W. Green); Peter S. Chow v. State of Alaska, 3:94-cv-00450-JWS,
habeas petition filed 9/30/94, dismissed by this Court 1/24/95; Peter S. Chow v. State of
Alaska, 3:94-cv-00333-HRH, filed 7/22/94, dismissed by this Court 9/27/94, for failure to
file amended complaint or habeas petition.
16Docket 1 at 6; see also Green Law Offices v. Peter S. Chow, 3AN-94-02737CI (District
Court, State of Alaska) debt collection case filed 3/30/94, default judgment 7/10/94.
17   See Peter S. Chow, Docket No. 3:94-bk-00844 (Bankr. D. Alaska filed Dec. 22, 1994).
18Docket 1 at 6-7. The Chows claim that Mr. Yerbich admitted that he conspired with Mr.
Green to harm PSC. Id. at 11-12. But in the document replied upon to support that
contention, Mr. Yerbich states that he “has had no contact with the City of Pomona or its
3:19-cv-00142-MMS, Chow v. United States, et al.
Order of Dismissal
Page 5 of 13
            Case 3:19-cv-00142-MMS Document 6 Filed 08/02/19 Page 5 of 13
           The next claims begin in 2014, when the Chows assert that the City of

Pomona and its various departments, including Public Works, Field Services and

Billing” knew that water was “running out from the City water meter under the

sidewalk” causing PSC to “keep on paying for the running out water ….[in]

conspiracy and [with] the objective of … torturing PSC.” 19 The Chows allege that

the problem with the City of Pomona’s water was, although occurring

approximately eighteen years later, “in furtherance of the Alaska conspiracy that

totally ripped off PSC.” 20

           The Chows assert that, “[i]n June, 2015, [they] filed suit against Alaska and

California conspiracy in U.S. District Court (western) [but that the] Court

immediately issued [a] void order to dismiss the complaint by violating F.R.Civ.P.

4(b) and using unconstitutional 28 U.S.C. § 1915(e)(2) thus committing Treason

… [a]gain accomplish[ing] the same common objective of harming PSC.” 21 The

Chows then filed “the same suit … in California Superior Court without naming


Water Department, the sole Defendant having any significant contacts with California. To
the extent that Mr. Yerbich may have ‘conspired’ with Harold Green, in the absence of
any evidence to the contrary, any such conspiracy and the acts associated with it must
have occurred wholly within the State of Alaska, not California. Consequently, Plaintiffs’
alleged ‘conspiracy,’ which is itself unsupported by any factual evidence, does not form
any basis for a California court to exercise in personam jurisdiction over Mr. Yerbich.”
Docket 1-7 (Defendant Yerbich’s May 7, 2016 Reply to Plaintiffs’ Opposition to Yerbich’s
Motion to Dismiss in an unidentified case brought by the Chows in California).
19   Id. at 7-8.
20   Id. at 9.
21   Id.

3:19-cv-00142-MMS, Chow v. United States, et al.
Order of Dismissal
Page 6 of 13
            Case 3:19-cv-00142-MMS Document 6 Filed 08/02/19 Page 6 of 13
Alaska [and the] case proceeded … [until they] nam[ed] Alaska on Mar. 1, 2016’s

amended complaint. Immediately [the] Court committed multiple violation of laws

… and continu[ed] issuing void orders (subject matter jurisdiction ceased) to close

the case … just using different means to accomplish the same objective … [and]

committing treason … in furtherance of the conspiracy …” 22

          The Chows allege that “[o]n Jan. 31, 2018, despite advance notice of the

violations, U.S. District Court (eastern) committed the same violations as U.S.

District Court (western), that accomplished the same common objective of harming

PSC, and that confirms the continuing conspiracy is alive and ongoing.” 23

          The Chows then claim that, on March 18, 2018, there was a “conspiracy to

hit [their] car,” and that the Pomona police “illegally refused to come to make a

report,” conspiring with Dyna Garcia, who allegedly hit the car, and Allstate

Insurance Company, which concluded that both parties were backing up,

“accomplish[ing] the same common objective of harming PSC.” 24

          The Chows also claim that PSC has been constantly spied upon in 2019,

“through radiation which is painfully cancer causing … while PSC [is] sleeping ...




22   Id. at 9-10.
23 Id. at 10-11 (Court used “unconstitutional 28 U.S.C. § 1915(e)(2) to dismiss the
complaint of conspiracy thus committing treason … accomplish[ing] the same common
objective of harming PSC …” Id. at 11).
24   Id. at 12.

3:19-cv-00142-MMS, Chow v. United States, et al.
Order of Dismissal
Page 7 of 13
           Case 3:19-cv-00142-MMS Document 6 Filed 08/02/19 Page 7 of 13
causing extreme pain for days.” 25 After PSC called “all FBI’s offices across this

nation which included [Alaska,] … immediately all FBI’s agents conspired into

committing           overt   acts   of   willful   misconduct,   tortious   omission      and

misrepresentations … in furtherance of this continuing conspiracy by … [hanging]

up the phone, [and] refus[ing] to take [a] report or investigate ...” 26

          The Chows state that they are asserting two causes of action against all of

the defendants: first, for intentional tort; and second, for conspiracy. 27


1.        The plaintiffs have not established the Court’s jurisdiction over their case.

          Jurisdiction is “[a] court’s power to decide a case or issue a decree[.]” 28 As

explained by the United States Supreme Court, “[f]ederal courts are courts of

limited jurisdiction. They possess only that power authorized by Constitution and

statute.” 29      That is, the United States Constitution or a federal statute must

generally be at issue to establish this Court’s jurisdiction. It is the Chows’ burden,

as the plaintiffs, to show that this Court has jurisdiction to hear their claims. 30 And



25   Id. at 12-13.
26   Id. at 13.
27   Id. at 13-15.
28   Black’s Law Dictionary (11th ed. 2019).
29Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377 (1994) (citations
omitted).
30 K2 America Corp. v. Roland Oil & Gas, LLC, 653 F.3d 1024, 1027 (9th Cir. 2011) (“We
‘presume[ ] that a cause lies outside this limited jurisdiction, and the burden of establishing
3:19-cv-00142-MMS, Chow v. United States, et al.
Order of Dismissal
Page 8 of 13
           Case 3:19-cv-00142-MMS Document 6 Filed 08/02/19 Page 8 of 13
“if the court determines at any time that it lacks subject-matter jurisdiction, the court

must dismiss the action.” 31

       “To invoke federal-question jurisdiction, allegations in a complaint must

simply be more than ‘insubstantial or frivolous.’” 32

2.     The Court must dismiss frivolous lawsuits.

       The Chows’ narrative is long and convoluted, covering primarily unrelated

allegations from 1993-1994 in Alaska up to this year in California. Nothing in the

Complaint indicates that the Chows have, or will have, a claim for relief over which

this Court has jurisdiction.

       “[A] complaint ... is frivolous where it lacks an arguable basis either in law or

in fact.” 33   And “[f]actual frivolousness includes allegations that are clearly


the contrary rests upon the party asserting jurisdiction.’”) (quoting Kokkonen, 511 U.S. at
377).
31 Fed. R. Civ. P. 12(h)(3) (emphasis added); see also Ruhrgas AG v. Marathon Oil Co.,
526 U.S. 574, 583 (1999) (“Subject-matter limitations on federal jurisdiction . . . keep the
federal courts within the bounds the Constitution and Congress have prescribed.
Accordingly, subject-matter delineations must be policed by the courts on their own
initiative even at the highest level.”) (citing Rule 12(h)(3)) (additional citations omitted);
United States v. Hays, 515 U.S. 737, 742 (1995) (“federal courts are under an
independent obligation to examine their own jurisdiction”) (citation omitted).
32 Perry v. Merit Systems Protection Bd., ___ U.S. ___, 137 S.Ct. 1975, 1984 (2017)
(quoting Bell v. Hood, 327 U.S. 678, 682-83 (1946)); see also Shapiro v. McManus, ___
U.S. ___, 136 S.Ct. 450, 455 (2015) (The Court has “long distinguished between failing
to raise a substantial federal question for jurisdictional purposes … and failing to state a
claim for relief on the merits … with … ‘… insubstantial and frivolous’ claims implicat[ing]
the former.”) (quoting Bell, supra).
33Neitzke v. Williams, 490 U.S. 319, 325 (1989); see also Martin v. Sias, 88 F.3d 774,
775 (9th Cir. 1996); Cato v. United States, 70 F.3d 1103, 1106 (9th Cir. 1995).

3:19-cv-00142-MMS, Chow v. United States, et al.
Order of Dismissal
Page 9 of 13
         Case 3:19-cv-00142-MMS Document 6 Filed 08/02/19 Page 9 of 13
baseless, fanciful, fantastic, or delusional.” 34 A complaint may be dismissed as

frivolous if it “merely repeats pending or previously litigated claims.” 35

         The Court takes judicial notice that approximately one month before filing

the current case in this Court, the Chows filed a similar case against nearly

identical defendants in the United States District Court for the Western District of

Washington, and the Court issued an Order Requiring More Definite Statement

through “an amended complaint that clearly and concisely identifies the acts of

which defendants are accused and how these acts violated plaintiffs’ legal

rights.” 36 As in the current case, the Chows’ initial complaint in that case “contains

several conclusory allegations that the government is engaged in some sort of

conspiracy against them, along with six additional defendants… Their allegations

range from Speedy Trial Act violations and fraud by former counsel, … to

tampering with a water meter, … to due process violations by various courts, … to

surveillance and radiation-poisoning… The conduct complained of spans almost

three decades, beginning in 1991.” 37



34   Denton v. Hernandez, 504 U.S. 25, 32-33 (1992) (citing Neitzke, supra).
35 Cato, 70 F.3d at 1105 n. 2 (citations and internal quotations omitted); see also Denton,
504 U.S. at 31 (recognizing that an IFP litigant may lack the economic incentives to refrain
from filing frivolous or repetitive lawsuits).
36 Jenny Y. Chow and Peter S. Chow v. United States Attorney General, et al., 2:19-cv-
00607 (W.D. Wash. July 12, 2019), Docket 11 at 2. The first of the defendants is the only
difference in defendants between the Washington and Alaska cases. See Docket 1.
37   Id., Docket 11 at 1 (citations to complaint omitted).

3:19-cv-00142-MMS, Chow v. United States, et al.
Order of Dismissal
Page 10 of 13
          Case 3:19-cv-00142-MMS Document 6 Filed 08/02/19 Page 10 of 13
       Earlier, on March 21, 2019, the Chows filed another case, also against

nearly identical defendants, in the United States District Court for the District of

Wyoming, which was dismissed on April 11, 2019 as frivolous, and for failure to

state a plausible claim upon which relief may be granted. 38 Likewise, a complaint

against nearly identical defendants was filed and dismissed in the Central District

of California in January - February, 2018. 39           And the Chows have filed and

appealed other cases against the defendants over the years. 40

       The Chows together, and Peter S. Chow alone, have filed their unrelated

claims spanning from 1993 until 2019 in a variety of courts over the years (including



38Jenny Y. Chow and Peter S. Chow v. United States of America, et al., 1:19-cv-00057
(D. Wyo. April 11, 2019) (Docket 4 at 1, 3: “ORDER Dismissing Complaint on 28 U.S.C.
§1915 Screening”: … “Plaintiffs’ causes of action, at best, fail to state plausible claims
upon which relief can be granted… This claim is frivolous… [T]he Court finds the
complaint ‘lacks an arguable basis either in law or in fact.’ Neitzke, 490 U.S. at 325.”)
(additional citations omitted).
39 Jenny Y. Chow and Peter S. Chow v. United States, et al., 2:18-cv-00789 (C.D. Cal.
Feb. 7, 2018) (Docket 7: The “District Court lacks jurisdiction.” Immunity applies “as to
US gov’t and states of CA, A[laska; and] Plaintiffs’ allegations about his former lawyer’s
alleged malpractice do not state a federal claim.… The Complaint names entities immune
from suit: the United States, the State of Alaska and the State of California. Further, to
the extent Plaintiffs purport to assert claims for civil rights violations, the Complaint does
not identify any state actor or any constitutional violation that is actionable. Insofar as
Plaintiff Peter Chow complains about competency proceedings in 1994, a subsequent
bankruptcy, and default judgment, those judicial proceedings do not state actionable
federal claims. IT IS ORDERED that … [t]his case is hereby DISMISSED immediately.”).
40Jenny Y. Chow and Peter S. Chow v. City of Pomona, Harold W. Green, State of
Alaska, United States and Thomas J. Yerbich, No. 15-55990 (9th Cir. June 25, 2015)
(Entry #7, 9/17/15 Order denying appellants’ motion to proceed in forma pauperis
because the appeal is frivolous; Entry #10, 12/3/15 Order dismissing case for failure to
pay fees; Entry #22, Petition for writ of certiorari denied, 4/18/16); Jenny Y. Chow and
Peter S. Chow v. City of Pomona, et al., 2:15-cv-04493 (C.D. Cal. Filed June 12, 2015).

3:19-cv-00142-MMS, Chow v. United States, et al.
Order of Dismissal
Page 11 of 13
        Case 3:19-cv-00142-MMS Document 6 Filed 08/02/19 Page 11 of 13
state and federal courts in Alaska), in which some of the claims have been litigated.

The Court finds this case to be frivolous. Because the allegations in this case are

so clearly frivolous – fanciful, fantastic, or delusional – this Court has no subject

matter jurisdiction over the matter, 41 and the case will be dismissed without leave

to amend. Although there are other problems with the Complaint, 42 the Court need

not address those issues in this Order. Without jurisdiction, the Chows’ case

cannot proceed in this Court.


       IT IS THEREFORE ORDERED:

1.     This case is DISMISSED WITH PREJUDICE, as frivolous and for lack of

       jurisdiction.

2.     All outstanding motions are DENIED.




41 See, e.g. Neitzke, 490 U.S. at 330 (complaint that fails to state a claim may be
dismissed for want of subject matter jurisdiction when it is frivolous) (citation omitted).
42For instance, when a final judgment has been entered, the legal doctrine of res judicata
prevents a person from maintaining a new lawsuit that seeks to raise the same claims
against the same persons that were in the first case. See Turtle Island Restoration
Network v. U.S. Dept. of State, 673 F.3d 914, 917 (9th Cir. 2012) (“Res judicata, also
known as claim preclusion, applies only where there is ‘(1) an identity of claims, (2) a final
judgment on the merits, and (3) privity between parties.’”) (internal citation omitted). The
United States District Court for the Central District of California has already addressed
and dismissed the Chows claims. Chow v. United States, et al., 2:18-cv-00789, Docket
7, supra. Likewise, the United States District Court for the District of Wyoming has
addressed the claims, also finding them to be frivolous. Chow v. United States of America,
et al., 1:19-cv-00057, supra, Docket 4 at 3-4 (“[T]he complaint will be dismissed without
prejudice under § 1915(e)(2) for frivolity and failure to state a plausible claim upon which
relief may be granted.”).

3:19-cv-00142-MMS, Chow v. United States, et al.
Order of Dismissal
Page 12 of 13
        Case 3:19-cv-00142-MMS Document 6 Filed 08/02/19 Page 12 of 13
3.     The Clerk of Court is directed to enter a judgment accordingly.

       DATED this 2nd day of August, 2019 at Anchorage, Alaska.

                                                   /s/ Matthew M. Scoble________
                                                   MATTHEW M. SCOBLE
                                                   United States Magistrate Judge




3:19-cv-00142-MMS, Chow v. United States, et al.
Order of Dismissal
Page 13 of 13
        Case 3:19-cv-00142-MMS Document 6 Filed 08/02/19 Page 13 of 13
